Case No. 1:19-cv-00874-RBJ-MEH Document 590-1 filed 11/29/21 USDC Colorado pg 1
                                    of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   WARNER RECORDS INC, et al.

           Plaintiffs,
                                                       Case No. 1:19-cv-00874-RBJ-MEH
   v.

   CHARTER COMMUNICATIONS, INC.,

           Defendant.

                                  EXHIBIT A
        TO JOINT MOTION TO MAINTAIN CERTAIN FILINGS UNDER RESTRICTION

   Original Filing       Description                                        Redacted version
                                                                            attached hereto as
                                                                            Exhibit Number
   Dkt. 547              Plaintiffs’ Daubert motion re: George Strong       I
   Dkt. 547-4            Deposition transcript of George Strong             II
   Dkt. 549              Charter’s motion for summary judgment              III
   Dkt. 549-5            Declaration of Andrew Schapiro                     IV
   Dkt. 550-6            Deposition transcript of Aram Sinnreich            V
   Dkt. 550-7            Deposition transcript of On Amir                   VI
   Dkt. 551-3            Deposition transcript of Kristofer Buchan          VII
   Dkt. 552              Charter’s Daubert motion re: Harold Furchtgott-    VIII
                         Roth
   Dkt. 552-6            Deposition transcript of Harold Furchtgott-Roth    IX
   Dkt. 554              Charter’s Daubert motion re: Terrence McGarty      X
   Dkt. 554-4            Deposition transcript of Terrence McGarty          XI
   Dkt. 555              Plaintiffs’ motion for summary judgment            XII
   Dkt. 555-1            Declaration of Alexander Kaplan                    XIII
   Dkt. 555-7            Deposition transcript of Kevin Almeroth            XIV
   Dkt. 555-8            Deposition transcript of Michael Hanrahan          XV
   Dkt. 555-9            Deposition transcript of Mary Haynes               XVI



                                                   1
Case No. 1:19-cv-00874-RBJ-MEH Document 590-1 filed 11/29/21 USDC Colorado pg 2
                                    of 2




   Original Filing   Description                                          Redacted version
                                                                          attached hereto as
                                                                          Exhibit Number
   Dkt. 555-10       Deposition transcript of Philip Jones                XVII
   Dkt. 555-11       Deposition transcript of Austin McNeil               XVIII
   Dkt. 555-12       Deposition transcript of Jay Rolls                   XIX
   Dkt. 555-13       Deposition transcript of Laurie Rowlett              XX
   Dkt. 555-14       Deposition transcript of Tammy Stewart               XXI
   Dkt. 555-15       Deposition transcript of Adam Taylor                 XXII
   Dkt. 555-64       Declaration of Barbara Frederiksen-Cross             XXIII
   Dkt. 555-66       Declaration of Kristofer Buchan                      XXIV
   Dkt. 556          Charter’s Daubert motion re: Barbara Frederiksen-    XXV
                     Cross
   Dkt. 556-5        Deposition transcript of Barbara Frederiksen-Cross   XXVI
   Dkt. 557          Plaintiff’s Daubert motion re: Kevin Almeroth        XXVII
   Dkt. 557-5        Deposition transcript of Kevin Almeroth              XXVIII
   Dkt. 558          Plaintiff’s Daubert motion re: Sandeep Chatterjee    XXIX
   Dkt. 558-4        Deposition transcript of Sandeep Chatterjee          XXX
   Dkt. 558-5        Deposition transcript of Kevin Almeroth              XXXI
   Dkt. 558-7        Deposition transcript of Dong Jang                   XXXII
   Dkt. 558-8        Deposition transcript of Christopher Bell            XXXIII
   Dkt. 558-12       Deposition transcript of Karl Snow                   XXXIV
   Dkt. 559-3        Deposition transcript of Aram Sinnreich              XXXV
   Dkt. 560          Plaintiffs’ Daubert motion re: Karl Snow             XXXVI
   Dkt. 560-8        Deposition transcript of Karl Snow                   XXXVII
   Dkt. 560-9        Deposition transcript of Sandeep Chatterjee          XXXVIII
   Dkt. 560-10       Deposition transcript of Kevin Almeroth              XXXIX
   Dkt. 561-3        Deposition transcript of Wayne Coleman               XL




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